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14

15
                                  UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17

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19   TESLA, INC., a Delaware corporation,       CASE NO. 19-cv-01463-VC
20           Plaintiff,
                                                JOINT CASE MANAGEMENT STATEMENT
21      v.
22   GUANGZHI CAO, an individual,               Date:          December 11, 2019
23           Defendant.                         Time:          10:00 a.m.
                                                Place:         17th Floor, Courtroom 4
24                                              Judge:         Hon. Vince Chhabria
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     CASE NO. 19-CV-01463-VC                             JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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 1           The parties to the above-entitled action jointly submit this Joint Case Management Conference
 2 Statement pursuant to the Standing Order for All Judges of the Northern District of California and Civil

 3 Local Rule 16-9.

 4          This Case Management Conference Statement is intended to supplement the information
 5 contained in the parties’ first Case Management Conference Statement submitted on July 10, 2019, see

 6 Dkt. No. 30, and therefore it includes information pertaining only to those items that have changed since

 7 the first Case Management Conference Statement was filed.

 8      1. Amendment of Pleadings
 9           The deadline for amending the pleadings was September 3, 2019.
10       2. Disclosures
11           The parties exchanged initial disclosures on August 16, 2019. On September 12, 2019,
12    Tesla amended its disclosures. Tesla amended its disclosures again on November 18, 2019.
13       3. Discovery
14               a. Written Discovery
15                       i. Tesla’s Requests to Cao
16           As described in the parties’ first Case Management Conference Statement, Mr. Cao
17    initially provided Tesla with early discovery pursuant to stipulation, including access to his
18    electronic devices and his Gmail account. He also consented for Tesla to obtain discovery from
19    non-parties XMotors.ai and Apple, Inc.
20           On September 12, 2019, Tesla propounded its first formal set of requests for admission
21    and interrogatories. Cao served timely responses to those requests. On October 22, 2019, Tesla
22    propounded its second set of interrogatories and first set of requests for production of documents.
23    Cao served timely responses to those requests too and produced all documents responsive to
24    those requests. Cao has now produced all devices and essentially all non-privileged documents
25    responsive to Tesla’s requests, as narrowed by meet and confer discussions. Cao does not
26    anticipate supplementing his interrogatory responses.
27                       ii. Cao’s Requests to Tesla
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     CASE NO. 19-CV-01463-VC                                      JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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 1           On August 6, 2019, Cao propounded his first set of requests for production of documents
 2    and interrogatories. In September 2019, Tesla responded to those requests and made its first
 3    document production. Between October and December, Tesla made three additional document
 4    productions and supplemented its interrogatory responses twice. Tesla anticipates making an
 5    additional production of documents before the Case Management Conference.
 6               b. Depositions
 7           On October 29, 2019, Cao took the deposition of Tesla employee Melissa Hoang. The
 8    parties have agreed that the deposition of Guangzhi Cao is to take place on January 7, 2020.
 9               c. Third Party Discovery
10           As described in the parties’ first Case Management Conference Statement, non-party

11    XMotors.ai initially volunteered to produce to Tesla a digital image of Mr. Cao’s work laptop.

12    On November 6, 2019, Tesla served a subpoena for documents on XMotors.ai. Objections were

13    initially due on November 20, 2019 and documents were initially due on November 27, 2019.

14    XMotors.ai requested and Tesla agreed to extend the objection deadline to December 4, 2019

15    and the deadline to produce responsive documents to December 11, 2019.

16           XMotors.ai and Tesla are meeting and conferring about Tesla’s requests. Tesla will

17    further advise the Court regarding the status of XMotors.ai’s response to Tesla’s subpoena at the

18    Case Management Conference.

19      4. Settlement and ADR
20           The parties conducted a private mediation at JAMS in San Francisco on November 20,
21    2019. The parties’ settlement negotiations are ongoing.
22      5. Scheduling
23           Pursuant to the Court’s July 11, 2019 Case Management Order, the schedule for this case
24    is as follows:
25     Fact discovery deadline                   Feb. 28, 2020
26     Designation of experts                    Mar. 27, 2020
       Rebuttal reports                          Apr. 10, 2020
27     Close of expert discovery                 May 1, 2020
       Last day to hear dispositive motions      July 16, 2020
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     CASE NO. 19-CV-01463-VC                                     JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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       Final Pretrial Conference         Aug. 24, 2020 at 1:30PM
 1
       Trial                             Sept. 14, 2020 at 8:30AM
 2

 3

 4 Date: December 4, 2019                       CONRAD & METLITZKY LLP
 5

 6                                                     /s/ Gabriela Kipnis
                                                       MARK CONRAD
 7                                                     GABRIELA KIPNIS
                                                       Attorneys for Guangzhi Cao
 8

 9 Date: December 4, 2019                       THE NORTON LAW FIRM PC
10

11                                                     /s/ Matthew W. Turetzky
                                                       FRED NORTON
12                                                     BREE HANN
                                                       MATTHEW W. TURETZKY
13                                                     Attorneys for Tesla Inc.
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     CASE NO. 19-CV-01463-VC                           JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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 1                                   DECLARATION OF CONSENT

 2         The undersigned attests, pursuant to Civil L.R. 5-1(i)(3), that concurrence in the filing of the

 3 document has been obtained from the other signatories to this document.

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 5 Dated: December 4, 2019                             /s/ Matthew W. Turetzky__________
                                                          Matthew W. Turetzky
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     CASE NO. 19-CV-01463-VC                                  JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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